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    In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS
                                           No. 13-911V
                                       Filed: March 4, 2015

* * * * * * * * * * * * * * * *                               UNPUBLISHED
MARY-LOU A. GREEN,            *
                              *                               Special Master Hamilton-Fieldman
          Petitioner,         *
                              *                               Attorneys’ Fees and Costs;
v.                            *                               Reasonable Amount Requested To
                              *                               Which Respondent Does Not Object.
SECRETARY OF HEALTH           *
AND HUMAN SERVICES,           *
                              *
          Respondent.         *
* * * * * * * * * * * * * * * *

Woodruff Lee Carroll, Carroll & Carroll Lawyers, P.C., Syracuse, NY, for Petitioner.
Heather Pearlman, United States Department of Justice, Washington, D.C., for Respondent.

                                            DECISION 1

        On November 18, 2013, Mary-Lou Green (“Petitioner”) filed a petition pursuant to the
National Vaccine Injury Compensation Program. 2 42 U.S.C. §§ 300aa-1 to -34 (2006).
Petitioner alleged that she was administered an influenza (“flu”) vaccine on November 8, 2010,
and that the vaccine caused her to suffer from a polyneuropathy. Petition at 1. On December 29,
2014, the undersigned issued a decision awarding compensation to Petitioner.

       On March 4, 2015, the parties filed a stipulation of facts concerning attorneys’ fees and
1
  Because this decision contains a reasoned explanation for the undersigned’s action in this case,
the undersigned intends to post this ruling on the website of the United States Court of Federal
Claims, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116
Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2006)). As provided by
Vaccine Rule 18(b), each party has 14 days within which to request redaction “of any
information furnished by that party: (1) that is a trade secret or commercial or financial in
substance and is privileged or confidential; or (2) that includes medical files or similar files, the
disclosure of which would constitute a clearly unwarranted invasion of privacy.” Vaccine Rule
18(b).
2
  The National Vaccine Injury Compensation Program is set forth in Part 2 of the National
Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended,
42 U.S.C. §§ 300aa-1 to -34 (2006) (Vaccine Act or the Act). All citations in this decision to
individual sections of the Vaccine Act are to 42 U.S.C.A. § 300aa.


                                                  1
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costs. The parties have agreed to an award of $15,000.00 for attorneys’ fees and costs. In
accordance with General Order Number 9, Petitioner represents that she has not personally
incurred any expenses in pursuit of her claim.

       The undersigned finds that this petition was brought in good faith and that there existed a
reasonable basis for the claim. Therefore, an award for fees and costs is appropriate, pursuant to
42 U.S.C. § 300aa-15(b) and (e)(1). Further, the proposed amount seems reasonable and
appropriate. Accordingly, the undersigned hereby awards the amount of $15,000.00, in the
form of a check made payable jointly to Petitioner and Petitioner’s counsel, Woodruff Lee
Carroll, of the law firm of Carroll & Carroll Lawyers, P.C.

        In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court SHALL ENTER JUDGMENT in accordance with the terms of the parties’
stipulation. 3

       IT IS SO ORDERED.

                                                     /s/ Lisa D. Hamilton-Fieldman
                                                     Lisa D. Hamilton-Fieldman
                                                     Special Master




3
 Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of
notice renouncing the right to seek review.


                                                2
